Case 8:09-cr-00572-JSM-TGW Document 425 Filed 01/08/13 Page 1 of 2 PageID 3438


                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                       CASE NO: 8:09-cr-572-T-30TGW

 MARK ANTHONY MYRIE
 _________________________________________/

                                           ORDER

        This cause comes before the Court on Government’s Motion for Reconsideration

 [Dkt. 424]. The Government is requesting the Court to reconsider and set aside its January

 4, 2013 Order granting the Defendant’s request for the seizure of a juror’s computers.

        It is therefore ORDERED AND ADJUDGED that:

        1.     Government’s Motion for Reconsideration [Dkt. 424] is GRANTED. The

 Court vacates [Dkt. 422] Order directing seizure of Juror Terri Wright’s computers.

        2.     Terri Wright is ordered to produce the computer(s) or hard drive(s) , if separate

 from the computer(s), which she used to conduct research pertaining to the trial proceedings

 of Mark Myrie. Ms. Wright shall bring the computer(s) or hard drive(s), without any

 alteration, to the EVIDENTIARY HEARING scheduled on THURSDAY, FEBRUARY 19,

 2013, at 10:00 A.M. in Courtroom 13A at the U. S. Sam Gibbons Courthouse, 801 North

 Florida Avenue, Courtroom #13A, Tampa, Florida 33602.

        3.     Terri Wright may raise any objections she may have to the production of the

 computer(s) at the evidentiary hearing. Ms. Wright has the right to have a lawyer represent

 her in this proceeding. If she is unable to afford a lawyer, the Court will consider appointing

 a lawyer for her after inquiry into her financial ability to hire a lawyer.
Case 8:09-cr-00572-JSM-TGW Document 425 Filed 01/08/13 Page 2 of 2 PageID 3439


           4.        The U.S. Marshal’s Office is directed to serve this Order on Terri Wright.

           DONE and ORDERED in Tampa, Florida on January 8, 2013.




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 Counsel/Parties of Record
 U. S. Marshal’s Office
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